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PROB12A1                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

           REPORT AND RECOMMENDATION OF OFFENDER TERMINATION


Offender Name:                   Luis Amando PENATE

Docket Number:                   2:03CR00064-01

Offender Address:                Los Angeles, California

Judicial Officer:                Honorable William B. Shubb
                                 United States District Judge
                                 Sacramento, California

Original Sentence Date:          06/01/2005

Original Offense:                18 USC 1347, 2 - Health Care Fraud, Aiding and
                                 Abetting (CLASS C FELONY)(Counts 1 and 3)

Original Sentence:               14 months custody Bureau of Prisons; 36-month Term
                                 of Supervised Release; $101,030.72 restitution; $5000
                                 fine; $200 special assessment

Special Conditions:              Search and seizure; Shall not dispose of assets;
                                 Financial disclosure; No new credit; Substance abuse
                                 testing with $25 per month co-payment for testing
                                 services; Cooperate with INS/ICE.

Type of Supervision:             Supervised Release

Supervision Commenced:           07/22/2006

Assistant U.S. Attorney:         Daniel S. Linhardt        Telephone: (916) 554-2700

Defense Attorney:                Anthony P. Brooklier      Telephone: (916) 441-0828
                                 Retained Counsel

Other Court Action:

08/12/2008:                      Prob 12B petition modifying conditions to include 100
                                 hours of community service, based on violation of
                                 incurring new credit without the approval of the
                                 probation officer.


                                                                                    Rev. 08/2006
                                                                VIOLATION__RPT NON-COMPLIANCE
                                                                        & ORDER (PROB12A1).MRG
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RE:    Luis Amando PENATE
       Docket Number: 2:03CR00064-01
       REPORT AND RECOMMENDATION OF OFFENDER TERMINATION




The purpose of this report is to advise the Court of the following:

The releasee has been supervised by the Central District of California Probation Office.
The releasee has been unable to establish and maintain a payment schedule to ensure full
collection of restitution prior to expiration of supervision, and he has an outstanding balance
of $38,755.72. Throughout the period of supervision, the releasee’s economic
circumstances have been monitored for changes that might affect his ability to pay. When
appropriate, the payment schedule has been modified to ensure required payments are
commensurate with the releasee’s financial ability. His income has remained stable, and
the releasee has complied with complete financial disclosure. He is also in compliance
with all other supervision terms and conditions. To date, the releasee has paid $62,275.00
toward his financial obligation. The supervising probation officer will continue collection
efforts until expiration of supervision.


United States Probation Officer Plan/Justification: Based on the continued collection
efforts of the United States Attorney’s Financial Litigation Unit following this supervision
term, it is the probation officer’s recommendation the case be allowed to expire as
scheduled on July 25, 2009. Per statute, no further term of supervised release is
authorized.

                                  Respectfully submitted,

                                  /s/ Richard A. Ertola

                                RICHARD A. ERTOLA
                      Supervising United States Probation Officer
                              Telephone: (916) 786-2947

DATED:        January 30, 2009
              Roseville, California
              RAE:jc




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RE:   Luis Amando PENATE
      Docket Number: 2:03CR00064-01
      REPORT AND RECOMMENDATION OF OFFENDER TERMINATION



THE COURT ORDERS:

(X)   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
      Taken At This Time.

Date: February 2, 2009




cc:   United States Probation
      Daniel S. Linhardt, Assistant United States Attorney
      Anthony P. Brooklier, Retained Counsel

      Anthony P Brooklier
      10100 Santa Monica Boulevard, Suite 100
      Los Angeles, California 90067
      (310) 772-2287




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